     United States Bankruptcy Court for the:

                               District of
                                         (State)

     Case number (If known):                                 Chapter

                                                                                                                                       Check if this is an
                                                                                                                                             amended filing
Official Form 205

Involuntary Petition Against a Non-Individual                                                                                                          12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
known).


             Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1. Chapter of the                      Check one:
     Bankruptcy Code
                                        Chapter 7
                                       Chapter 11

Part 2:      Identify the Debtor


2.   Debtor’s name                     Professional Investors Security Fund, Inc.


3.   Other names you know
     the debtor has used in
     the last 8 years
     Include any assumed
     names, trade names, or
     doing business as names.

4. Debtor’sfederal
     Employer Identification          
                                       Unknown
     Number (EIN)
                                             68     –0040208

                                      Principal place of business                                    Mailing address, if different
5.   Debtor’s address

                                         350        Ignacio Blvd.
                                       Number       Street                                           Number      Street


                                         #300
                                                                                                     P.O. Box

                                         Novato                             CA        94949
                                      City                                  State     ZIP Code       City                            State      ZIP Code



                                                                                                     Location of principal assets, if different from
                                                                                                     principal place of business

                                         Marin
                                       County                                                        Number      Street




                                                                                                     City                            State      ZIP Code
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Debtor         Professional Investors Security Fund, Inc.                                     Case number (if known)




6.    Debtor’s website (URL)



7.    Type of debtor                 Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other type of debtor. Specify:


8.    Type of debtor’s            Check one:
      business
                                  Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                  Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                  Railroad (as defined in 11 U.S.C. § 101(44))
                                  Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                  Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                  Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                 None of the types of business listed.
                                  Unknown type of business.

9.    To the best of your             No
      knowledge, are any
      bankruptcy cases                Yes. Debtor                                                             Relationship
      pending by or against
                                            District                            Date filed                      Case number, if known
      any partner or affiliate
                                                                                             MM / DD / YYYY
      of this debtor?

                                            Debtor                                                               Relationship

                                            District                            Date filed                      Case number, if known
                                                                                             MM / DD / YYYY



Part 3:        Report About the Case


10.   Venue                      Check one:

                                 
                                  Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                 business, or principal assets in this district longer than in any other district.

                                  A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.

11.   Allegations                Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                 The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                 At least one box must be checked:

                                 
                                  The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                 fide dispute as to liability or amount.

                                  Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                     agent appointed or authorized to take charge of less than substantially all of the property of the
                                     debtor for the purpose of enforcing a lien against such property, was appointed or took possession.


12. Has   there been a            No
      transfer of any claim
      against the debtor by or    Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
      to any petitioner?             Rule 1003(a).


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 Debtor          Professional Investors Security Fund, Inc.                                           Case number (if known)



 13. Each    petitioner’s claim              Name of petitioner                                     Nature of petitioner’s claim                 Amount of the claim
                                                                                                                                                 above the value of
                                                                                                                                                 any lien


                                              SEE ATTACHED SCHEDULE “A”
                                                                                                                                                 $
                                              FOR PETITIONER INFORMATION
                                                                                                                                                 $

                                                                                                                                                 $

                                                                                                            Total of petitioners’ claims
                                                                                                                                                 $


      If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if known, at
      the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
      additional petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the petitioner’s attorney. Include the
      statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner’s (or representative’s) signature,
      along with the signature of the petitioner’s attorney.



  Part 4:      Request for Relief

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
     $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

     Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
     petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
     foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

     I have examined the information in this document and have a reasonable belief that the information is true and correct.

     Petitioners or Petitioners’ Representative                                          Attorneys


     Name and mailing address of petitioner

      Jacques Achsen*                                                                     Debra Grassgreen
                                                                                         Printed name
      Name


      124 Pine Street                                                                     Pachulski Stang Ziehl & Jones LLP
                                                                                         Firm name, if any
      Number    Street


      San Anselmo                               CA                94960                   150 California Street, 15th Floor
                                                                                         Number    Street
      City                                     State              ZIP Code

                                                                                          San Francisco                             CA                94111
     Name and mailing address of petitioner’s representative, if any                     City                                       State            ZIP Code



      Name
                                                                                         Contact phone   (415) 217-5102          Email dgrassgreen@pszjlaw.com



      Number    Street                                                                   Bar number         169978


      City                                     State              ZIP Code               State           California

      I declare under penalty of perjury that the foregoing is true and correct.



                                                                                     
     Executed on
                   MM / DD / YYYY


                                                                                        Signature of attorney

      Signature of petitioner or representative, including representative’s title
*Each petitioning creditor reserves the right to claim a different and potentially larger amount than the amounts stated herein. Additionally, certain obligations owed to
the petitioning creditors may be secured or unsecured, or against an affiliate or subsidiary of Professional Investors Security Fund, Inc.
 Official Form 205                                         Involuntary Petition Against a Non-Individual                                           page 3
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                        Professional Investors Security Fund, Inc.                                            C3senumbe<1,.._,,__ _ _ _ __ _ _ __ _ __




        Name and mailing address of petitioner

        Samuel Goldberger, Trustee of the B Trust'                                             Printed name
        Name

        447860 Rosewood Terrace                                                                Firm name, if any
        Number     Street


        Mendocino                                    -=
                                                     C'-'A'----~         95460                 Numbe<    Street
        City                                         Stale               ZIP Code

        Name and mailing address of petitioner's representative, if any                                                               Slate             ZJPCode

                                                                                               Contactphone,_ _ _ _ _ _ _ Eman _ _ __ _ __ __ __

        Name


        Number     Slleel
                                                                                               State

                                                     State               ZIP Code


        I declare under penalty of perjury that the foregoing is true and correct.

                                                                                           X
                        MM /00 /YYYY                                                           Signature ol attomey


    X
                                                                                               Date signe<J
        Signature ol petitioner or representalive, induding representalive's tide                                 MM /00 /YYYY




        Name and mailing address of petitioner

        Elizabeth A. Goldblatt. Trustee of the Elizabeth Ann Goldblatt                         Printed name
        Living Trust (and El izabeth Goldblatt IRA)'
        Name
                                                                                               Form name, ~ any
        PO Box726
        Number     Slreet
                                                                                               Number S~eel
        Point Reyes Station                          CA                  94956
        City                                        Stale                ZIP Code
                                                                                               Cily                                   Stale             ZIPCode

                                                                                               Contact pt,one,_ _ _ _ _ _ _,Email _       _ __ _ _ __ __ _
        Name and mailing address of petitioner's representative, if any

                                                                                               Bar number
        Name

                                                                                               Stale
        Number     Sueet



        City                                         State               ZJPCode

        I dedare under penalty of perjury that the foregoing is true and correct.          X
        E.xecut.e<!on   (rj   /i~ / :-o:,,_o                                                   Signature of attorney

                        MM /00 IYYYY
                                                                                               Date signed
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  •each petitioning creditor n>s t<Ves lhe right to claim a different and polentlally larger amount than the amounts stated herein. Additionally, certain obligations owed to
  the petitioning creditOB may be secured or unsccurod, or agalnll an affiliate or subsidiary of Profeulonal Investors Security Fund, Inc.
   Official Form 205                                               Involuntary Petition Against a Non-Individual                                       page 4
Case: 20-30579                       Doc# 1                 Filed: 07/16/20                  Entered: 07/16/20 18:23:19                                  Page 6 of 10
  Debtor           Professional lnvestors Securitv Fund. lnc.                                             Case number




      Name and mailing address of petitioner

      Arthur lndenbaum, Trustee of the.Spiren Trust (2013)*                                Printed name
      Name


      2834 Goush Street                                                                    Fifin name, if any
      Number Street

          San Francisco                              cA                  94123             Number       Street
      City                                          State                ZIP Code

      Name and mailing address of petitioner's representative, if any                      City                                    State              ZIP Code

                                                                                           Contact     phone-Email

                                                                                           Bar number
      Number Street
                                                                                           State

      Crty                                          State                ZIP Code


      I   declare under penalty of perjury that the foregoing is true and correct.

      Executedon    st_//*r      2+                                                   ,c
                    MM /DD /YYYY
                                                                                           Signature of attorney


                                    TAUS€
                              or rbpresentative, including representative's title
                                                                                           Date signed
                                                                                                                 MM /DD i YYYY




      Name and mailing address of petitioner

      Andrew Roy Michaels (and Andrew Roy Michaels IRA)*                                   Printed name
      Name


       PO Box 808                                                                          Firm name, if any
      Number Street

          Point Reves Station                        CA                   94956            Number Street
      City                                                               ZIP Code

      Name and mailing address of petitioner's representative, if any                      City                                    State              ZIP Code

                                                                                           Contacl     phone-Email

                                                                                           Bar number

      Number Street
                                                                                           State

      City                                          State                ZIP Code


      I   declare under penafty of perjury that the foregoing is true and conect.

      Exedted on                                                                      ,.
                     MM /DD      /YYYY                                                     Signaturc of attorney

  *
      Signature of petitioner or representative, including representative's title                  -
                                                                                           Datesigned
                                                                                                                 Mfr /DD   /YYYY

*Each petitioning creditor reserves the right to claim a different and potentially larger amount than the amounts stated herein. Additionally, certain obligations owed to
the petitioning creditors may be secured or unsecured, or against an affiliate or subsidiary of Professional lnvestors Security Fund, lnc.
                                                                 lnvoluntary Petition Against a NonJndividual                                        page
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 Debtor              Professional Investors Security Fund, Inc.                                           Case number (I/k n o w n ~ - - - - - - - - - -- - -


.-----------------------·------------------------------.
     Name and malling address of petitioner

      Mary Michaels, Trustee of the Michaels Family Trust                                   Printed name
       (and Mary Michaels IRA)*
     Name
                                                                                            Firm name, if a ny
       PO Box 808
     Number        Street
                                                                                            Number Street
      Point Reyes Station                           CA                  94956
     City                                          State               ZIP Code
                                                                                            City                                 State            ZIP Code

                                                                                            Contact phonec_ _ _ _ _ _ _Email _ _ _ _ _ _ _ _ __ _
     Name and malling address of petitioner's representative, If any

                                                                                            Bar number
     Name

                                                                                            State
      Number       Street


      City                                         State               ZIP Code

      I declare under penalty of perjury that the foregoing is true and correct.        X
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                                                                                            Signature of attorney
     Executed on        O7
                       MM       / DD /yyyy
                                                                                            Date signed
                                                                                                               MM /DD /YYYY

  j(·"·--~~&,M.~. .
     Name and malling address of petitioner

     Andrew Roy Michaels (and Andrew Roy Michaels IRA) *                                    Printed name
      Name


       PO Box 808                                                                           Firm name, if any
      Number       Street


      Point Reyes Station                           CA                  94956               Number    Street
      City                                         State               ZIP Code

                                                                                            City                                 State             ZIP Code
     Name and malling address of petitioner's representative, if any                        Contact phone_ _ _ _ _ _ _Emall _ _ _ __ _ _ _ __ _


      Name
                                                                                            Bar number


      Number       Street                                                                   State


      City                                         State               ZIP Code


      I declare under penalty of perjury that the foregoing is true and correct.

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      Executed on                                                                           Signature of attorney
                       MM / DD / YYYY


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                                            toclaim a different and potentially larger amount than the amounts stated herein. Additionally, cortain obligations owod to
· each petitioni ng tredltor reserves the right
the petitioning creditors may be secured or unsecured, or against an affiliate or subsidiary of Professional Investors Security Fund, Inc.
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                      Professional lnvestors Securitv Fund. lnc.                                                  Cg86 nurnbor




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      Mary Michaels, Trustee of the Michaels Family Trust                                         Print€d nam6
       {and Marv Michaels IRA'I*
      Narno
                                                                                                  Firm name, lf any
          PO Box 808
      Numb€r Strost
                                                                                                  Numbor SEo6t
          Point Reves Station                          cA                 94956
      City                                            Slat6              ZIP Cod6
                                                                                                  City                                                      AP Cod6
      Nemc and malllng          addEr      of   p.tttlono/s repit3entrtlve, lf any
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                                                                                                  Bar numb6r


      Number Shoot                                                                                Stat6


      City                                                               ZIP Code


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                       MM /OD /YYYY

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      l{ama and malllng addrcsg of pe0doner

      Joal Rubenzahl (and Joel Rubenzahl IRA)'                                                    Print€d narne
      Name


      3159 Lewiston Avenue                                                                        Flrm nemo, if any
      Number Stro€t

      Berkeley                                        cA                  94705                   t\fumbor Sfeot
      City                                            stato              ZIP Code

                                                                                                  City                                                      APcpdp
      Namo and malllng addrosr of petitlone!'s               Fpres.ntrtlw, lf any
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      City                                                               ZlPtue

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the po{tlonlng credltorr                                                                            of Profiaarlonal lnvratolr Sacurlty Fund, lnc.
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                                        Schedule A


                                                 Nature of        Amount of
             Name of Petitioner              petitioner’s claim   the claim

1.   Jacques Achsen                           Promissory note     $3,366,808

2.   Samuel Goldberger,                       Promissory note     $200,000
     Trustee of the B Trust

3.   Elizabeth A. Goldblatt                   Promissory note     $188,455

4.   Arthur Indenbaum, Trustee                Promissory note     $750,000
     of the Spiren Trust (2013)

5.   Andrew Roy Michaels                      Promissory note     $377,250
     (and Andrew Roy Michaels IRA)

6.   Mary Michaels,                           Promissory note     $430,422
     Trustee of the Michaels Family Trust
     (and Mary Michaels IRA)

7.   Joel Rubenzahl                           Promissory note     $100,000
     (and Joel Rubenzahl IRA)




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